
BAR ADMISSIONS PROCEEDING
PER CURIAM
| iPetitioner successfully passed the Louisiana Bar Examination. However, the Committee on Bar Admissions (“Committee”) subsequently advised petitioner that he would not be certified for admission as a result of his failure to update his bar application to disclose that approximately one month earlier, he had been arrested and charged with second-offense DWI.1 The Committee also cited three other criminal charges against petitioner, all alcohol-related.
Petitioner then applied to this court for admission to the practice of law. We remanded the matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following the proceedings, the commissioner filed his report with this court, recommending petitioner be admitted to the practice of law. Neither petitioner nor the Committee objected to this recommendation.
Considering the commissioner’s recommendation, the absence of any objection from the parties, and the entire record of this proceeding, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana, subject to the following conditions:
|⅞1. Petitioner shall continue to comply with the terms of the recovery agreement he signed with the Judges and Lawyers Assistance Program (“JLAP”) on May 2, 2016.
2. The period of this conditional admission shall coincide with the period of petitioner’s JLAP agreement. However, petitioner’s conditional admission status shall *169not be terminated until this court so orders.
3. Petitioner shall authorize the Executive Director of JLAP to report any violations of the JLAP agreement to the Office of Disciplinary Counsel (“ODC”).
4. Upon the expiration of the term of petitioner’s JLAP agreement, the Executive Director of JLAP shall forward to the ODC (a) a final report of petitioner’s progress and participation in JLAP, and (b) a recommendation regarding the need for petitioner’s continued participation in JLAP.
5. Following receipt of the report from JLAP, the ODC shall file a report in this court in which it shall recommend whether the conditional admission shall be allowed to terminate or shall be extended.
6. Petitioner shall cooperate with JLAP and the ODC, and shall comply with any and all requirements imposed upon him by JLAP and the ODC.
Should petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.

, See Supreme Court Rule XVII, § 4(H), which imposes a continuing obligation to keep the bar application current until an applicant is admitted to the bar.

